IN THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 

UNITED STATES OF AMERICA :
Vv. : 1:210R 143-1

JASON JEROME COBB

The Grand Jury charges:
COUNT ONE
On or about September 16, 2020, in the County of Guilford, in the Middle
District of North Carolina, JASON JEROME COBB knowingly and
intentionally did unlawfully distribute a quantity of a mixture and substance
containing a detectable amount of fentanyl, a Schedule II controlled substance
within the meaning of Title 21, United States Code, Section 812; in violation
of Title 21, United States Code, Section 841(a)(1) and (b)(1)(C).
COUNT TWO
On or about July 1, 2021, in the County of Guilford, in the Middle District
of North Carolina, JASON JEROME COBB knowingly and intentionally did
unlawfully distribute 40 grams or more of a mixture and substance containing
a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidiny]|]

propanamide, commonly known as fentanyl, a Schedule II controlled substance

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within the meaning of Title 21, United States Code, Section 812; in violation

of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B).
DATED: December 13, 2021

SANDRA J. HAIRSTON
_United States Attorney

BY: RANDALL S. GALYON

Assistant United States Attorney

 

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